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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA


BILL NELSON FOR U.S. SENATE,
      Plaintiff,
       v.
KEN DETZNER, in his official capacity as
Florida Secretary of State, PALM BEACH
COUNTY CANVASSING BOARD, and                     Case No. 4:18-cv-536-MW/MJF
SUSAN BUCHER, in her official capacity
as Palm Beach County Supervisor of
Elections,
      Defendants,
and
NATIONAL REPUBLICAN
SENATORIAL COMMITTEE,
      Defendant-Intervenor.


                   NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Bill Nelson for U.S. Senate, by and through undersigned counsel,

hereby voluntarily dismisses this action, without prejudice, pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.


 Dated: November 29, 2018             Respectfully submitted,

                                      /s/ Uzoma N. Nkwonta
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    Case 4:18-cv-00536-MW-MJF Document 28 Filed 11/29/18 Page 2 of 2




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                                      Counsel for Plaintiff
                                      *Admitted Pro Hac Vice




                        CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2018, I caused to be electronically

filed the foregoing Notice on behalf of the Plaintiff with the Clerk of the Court

using the ECF system, which will send notification of such filing to all attorneys

of record.


                                          Respectfully submitted,

                                          /s/ Uzoma N. Nkwonta
                                          Uzoma N. Nkwonta



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